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 6   Keopadubsy

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                               EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,               ) No. 2:13-cr-00078 MCE
11                                           )
                                             ) WAIVER OF PRESENCE
            Plaintiff,                       )
12
                                             )
13   v.                                      )
                                             )
14   LITTANOVNE KEOPADUBSY,                  ) Judge: MORRISON C. ENGLAND, JR.
                                             )
15                                           )
            Defendant.                       )
16                                           )
                                             )
17                                           )

18
            Pursuant to Rule 43 of the Federal Rules of Criminal
19
     Procedure, the defendant hereby waives the right to be present
20
     in person in open court upon the hearing of any motion or other
21
     proceeding in this case, including, but not limited to, when the
22
     case is set for trial, when a continuance is ordered, and when
23
     any other action is taken by the court before or after trial,
24
     specifically, appearances for any hearing regarding modification
25
     of conditions of supervised release, except upon arraignment,
26
     plea, impanelment of jury and imposition of sentence.
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         Defendant hereby requests the Court to proceed during every
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 2   absence which the Court may permit pursuant to this waiver;

 3   agrees that defendant’s interest will be deemed represented at
 4
     all times by the presence of the defendants’ attorney, the same
 5
     as if the defendant was personally present; and further agrees
 6
     to be present in court ready for trial any day and hour the
 7

 8   court may fix in the defendant’s absence.

 9       The defendant further acknowledges being informed of the
10
     rights under Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act),
11
     and authorizes the defendant’s attorney to set times and dates
12
     under that Act without the defendant’s personal presence.
13

14
         The original signed copy of this waiver is being preserved

15   by the attorney undersigned.
16

17
     Dated: January 22 2014

18

19                                    /S/
20
                                      LITTANOVANE KEOPADUBSY
                                   (Original retained by attorney)
21
         I agree with and consent to my client's waiver of
22

23
     appearance.

24   Dated: JANUARY 22, 2014
25                                    /s/ Mark J. Reichel
26
                                      MARK J. REICHEL
                                      Attorney for Defendant
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                                         2
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 1
                                                ORDER
 2

 3          It is hereby ordered that Defendant LITTANOVNE KEOPADUBSY’s waiver of
 4
     appearance is valid and accepted by the Court.
 5

 6   Dated: January 24, 2014
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